                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

   JILL NATION,

                                  Plaintiff,

           v.                                         Case No.: 3:22 cv 5063 - MDH

   THOMAS E. MOORE, DDS, and
   ROCK DENTAL MISSOURI, LLC,

                                  Defendants.


   ORDER ON DESIGNATIONS FROM THE DEPOSITIONS OF JAKE SLIGH AND
                          JESSICA DEAVER

                              JESSICA DEAVER’S DEPOSITION

       37:3-38:8 is OVERRULED.

       52:7-9, 52:22-53:9, 55:12-19, 55:23-56:7, 57:8-16, and 66:10-67:13 are OVERRULED.

       66:2-4 is SUSTAINED as question not answered.

       54:1-2, 9 is SUSTAINED as this testimony is an incomplete hypothetical that omits

relevant and material contextual facts.

                                  JAKE SLIGH’S DEPOSITION

       70:4-6, 70:11-15, 71:11-14, 16 are SUSTAINED. These issues are outside the agreed upon

topics for Mr. Sligh even under the most liberal readings of plaintiff’s corporate representative

depositions testimony topics 4-8. As such, the cited testimony was not given on behalf of

Defendant RDM.

       73:11-74:7, 79:23-80:10 are SUSTAINED. The cited testimony was not given on behalf

of Defendant Rock Dental Missouri, LLC. Additionally, any evidence of a refund or a refund being

offered to the plaintiff is not legally relevant pursuant to FRE 403.



         Case 3:22-cv-05063-MDH Document 194 Filed 08/14/24 Page 1 of 2
       In addition to the Court’s rulings on the above, the Court reminds the parties that these

rulings do not preclude the parties from objecting at trial or otherwise presenting a matter to the

Court, as long as done in accordance with proper procedure.

IT IS SO ORDERED.
DATED: August 14, 2024
                                             /s/ Douglass Harpool
                                             DOUGLAS HARPOOL
                                             UNITED STATES DISTRICT JUDGE




        Case 3:22-cv-05063-MDH Document 194 Filed 08/14/24 Page 2 of 2
